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Exhibit 2
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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

MDL Docket No. 1629

Master File No. 04-10981

KR IK KR RR KR RRR ERR EEE KEKE REE

IN RE: . NEURONTIN MARKETING, SALES
PRACTICES AND PRODUCTS

LIABILITY LITIGATION

REEKKKKEEKKEKEKEKREKRKEKEREKERERERRKEEERERRKEEE

THIS DOCUMENT RELATES TO:
RONALD J. BULGER, SR., as Administrator —

of the Estate of Susan Bulger, Deceased

BREE RERKEKRKEKRRKEEKKRKEKEKEKEREEKEE

VIDEOTAPED DEPOSITION OF RICHARD S. GOLDMAN, MD

Held At:
Hare & Chaffin
160 Federal Street
Boston, Massachusetts 02110

April 22nd, 2008
9:07 AM

Reported By: Maureen O'Connor Pollard, RPR, CLR

Videographer: William Slater

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Page 16 |:

 

 

went to a particular dinner or conference

 

1 Q. Okay. And you're licensed to practice 1 specifi cally about Neurontin. IT cannot say for
2 in Massachusetts and Vermont? 2 certain that it was not mentioned in some
3 A. Yes. I mean my practice is in 3 conference, but nothing specific to my
4 Massachusetts. I've had a Vermont license ever | 4 recollection.
5 since my -- I did a week in a clinic at Stratton 5 Q. Are you a member of any medical
6 Mountain, and you had to get a state license to 6 societies or associations?
7 practice for one week in the medical clinic 7 A. Right now, no.
8 therein order to ski. 8 ~ Q. Do you subscribe or regularly review
9 Q. In order to ski? 9 any medical journals?
10 A. So I've had a Vermont license, but 10 A. Igeta summary journal called Journal
11 I've never practiced in the State of Vermont 11 Watch, which is a summary of a number of
12 other than that one week that I was at Stratton. |12 different, you know -- summarizes some of the
13 Q. Are you board certified in 13 leading journals for physicians who are busy, I
14 epidemiology, Doctor? 14 get that via e-mail, and I do review.
15 A. No. 15 Q. Is that one of these types of
16 Q. Pharmacology? 16 publications that's tailored to your practice in
17 A. No. 17 particular?
18 Q. And do you have any special training 18 A. No. |
19 __ in either epidemiology or pharmacology? 19 Q. No?
20 A. Epidemiology just from my training in 20 A. It's tailored as an internist.
21 public heaith. That was part of the curriculum. | 21 Q. It will extract articles from other
22 Q. Is there a continuing legal -- 22 journals?
23 continuing medical education requirement in 23 A. It basically -- there's one version of
24 Massachusetts? 24 it, to my knowledge, that just kind of
Page 15 Page 17
1 A. Yes, there is. 1 summarizes the latest things that have come out |,
2 Q. And what is it? 2 _ in the last week or so. ;
3 A. For licensure I think, I'm not totally 3 Q. And how frequently do you receive
4 aware of the requirements, it's a number of one | 4 that?
5 or 200 hours over the course of the two years 5 A. I believe once a month, but I'm not
6 that you have to get. So I go to CMEs and 6 positive.
7 _ things like that for them. 7 Q. What textbooks, medical textbooks do
8 Q. In that connection, have you taken any 8 you typically refer to, if any?
9 courses in suicide?. 9 A. That's hard to say. Depends on an :
10 A. Not specifically, to my recollection. 10 issue, depends on situation, you know. Probably f;
11 Q. On anti-convulsants? 11 Harrison's Textbook of Internal Medicine is
12 A. Not specifically, to my recollection. 12 probably the one I probably refer to most, but I
13 Q. On neuropathic pain? 13. don't have a copy of it, if I do look at it I
14 A. Not specifically, to my recollection. 14 probably do it either on-line or in the library.
15 Q. On chronic pain? 15 Q. Do you subscribe to the PDR?
16 A. Not specifically, to my recollection. 16 A. I don't subscribe to it. I think I
17 Q. Have you attended any courses on 17 receive a free copy of it every year.
18 Neurontin or gabapentin in particular? 18 Q. And do you review it regularly?
19 A. Not specifically. 19 A. Ican't say I review it.
20 Q. Have you ever attended any seminars, | 20 Q. Pardon me?
21 dinners, conferences, or anything of that nature | 21 A. I don't review it. I mean I use it if
22 concerning Neurontin? 22 I look up something, or if I look up a drug
23 A. Idon't remember specifically that I 23 dose. But honestly, I don't use it all that
24 24

  
  
   
  
   
  
 
 
 
 
 
   
   

much. It's just not as easy to --

“5 (Pages 14 to to 17)

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Q. Forgive me if this is a little bit

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Page 18 Page 20 |,
1 Q. I'm sorry, it's just? 1 redundant; could you describe a little bit of
2 -A. It's just not as easy to use. 2 what your practice was like during the 2003-2004 |:
3 T use a program called Epocrates which 3 period when you were seeing Mrs. Bulger? :
4 is on my PDA, and there's also an on-line 4 A. Can you be a little more specific?
5 version that just -- you know, if I need to know 5 Q. What was your practice like generally?
6 adosage of a drug or how it’s applied or things | 6 Was it as you described before, a concierge
7 like that, it's a quick reference for doctors. 7 practice?
8 E-P-O-C-R-A-T-E-S, Epocrates. 8 A. Yes.
9 Q. E-P-O-C -- 9 Q. Limited size?
10 A, ~~ C-R-A-T-E-S, Epocrates. 10 A. Limited size. Again, we limit the
11 Q. Do you consult with other physicians 11 size of the practice to around 300 patients so
12 about drugs you prescribe? 12 that we have the ability to give people more
13 A. I'm sure I do. 13 personalized care. We can see them the day
14 Q. Ona regular basis? 14 of -- the same day, we don't limit the time of
15 A. Only in the course of if it's 15 the appointment to five or ten minutes, which is |
16 something new that I'm not used to, I may talk |16 what normal practices seem to do these days, we |
17 to a physician who says, you know, "I use this 17 try not to make people wait, we give them as
18 particular drug at this particular dose." Or if 18 much time as they need, and that's --
19 it's an uncommon or it's a treatment that I'm 19 Q. Ona typical day during the 2003-2004 |;
20 not used to or for something that I don't see 20 time frame, how many patients would you see?
‘21 ~~ all that often, I may call a specialist and 21 A. Each day is different. I'd say it
22 discuss a particular case, and he'll mention a 22 could range from two or three to six or eight. :
23 drug, and I'll say “how is it prescribed?", and 23 Q. And what was the breakdown by age and ||
24 they'll give me the regimen for it. 24 gender of your patient population, if you know? &
. i
Page 19 Page 21};
1 Q. Have you ever had any such 1 A. Ireally can't give that to you. It's 4
2 conversations with -- concerning Neurontin? 2a fairly -- the range, probably I think I have ;
3 A. Not specifically, to my recollection. 3 some college age patients who are patients -- or |;
4 Q. Have you ever published any peer 4 children of, you know, other patients, so that's jf;
5 reviewed literature or made presentations at any | 5 probably my youngest is like 17, 18. I'd say a |
6 medical meetings? 6 number in their thirties, forties, fifties,
7 A. Ihave not published any peer review. 7 sixties, seventies. My oldest patient turned i
8 Ihave made presentations at medical meetings. | 8 100 last summer, and she's still sharp as a
9 Q. On what subject or subjects? 9 tack. We finally got her car away from her.
10 A. Currently the presentations that I've 10 Q. Do you recall that you saw Mrs. Bulger
11 made have been on the type of practice that I 11 in 19 -- I'm sorry, 2003 through mid -- through
12 have on concierge medicine. 12 the summer of 2004?
13 Q. The concierge, for lack of a better 13 A. Well, when I reviewed the record. I
14 word, practice? 14 know that I saw Mrs. Bulger, I didn't remember
15 A. Yeah, the type of small personalized, 15 the dates, but yes.
16 I've been invited to speak at an number of 16 Q. The records indicate that that was the
17 places. 17 period during which you treated her?
18 Q. I take it, then, you have not 18 A. Yeah, September of 2003 until August
19 published or spoken about Neurontin? 19 of 2004.
20 A. Thave not. 20 Q. Now, has Ron Bulger ever been a :
2i Q. And have you served on any editorial 21 patient of yours? :
22 boards of medical journals? 22 A. . Yes, he was.
23 A. No, I have not. 23 Q. And when was he a patient? |
24 A. Somewhere toward the tail end of
)

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Q. When you were prescribing it for

 

 

1 challenge, and everyone is different how they 1 Mrs. Bulger, did you review the labelling, if
2 respond to pain, and so treatment protocols, 2 you can recall?
3 medications, ancillary treatments, auxiliary 3 A. Idon't recall specifically reviewing
4 treatments, all things are usually 4 it.
5 _ individualized. 5 Q. Do you tell patients that you're
6 Q. And, for example, in Mrs. Bulger's 6 prescribing off-label?
7 _ situation, you made adjustments to her various 7 A. Idon't recall specifically telling
8 drugs over the course of nearly a year as 8 patients that it is an off-label use. My
9 circumstances warranted, right? 9 practice would be if I'm prescribing a drug that
10 A. I did make adjustments with her 10 might be used for an alternative reason, I
11 dosages, timing, frequency, time of day, changes|i1 usually would explain to the patient that a
12 in her medications over the course of that time, [12 particular medication may be used for one
13 yes. 13 purpose, but we have found some clinical
14 Q. In your practice, Doctor, have you had 14 evidence or other patients’ or whatever
15 instances in which the off-label use of a drug 15 experience that it has shown benefit in the
16 was the most effective treatment for a patient?. |16 particular condition that I'm prescribing it for
17 A. I don't recall specifically. 17 that patient.
18 Q. What particular drugs do you prescribe |18 Q. Fair to say, Doctor, that in making
19 off-label, Doctor? 19 determinations whether to prescribe something
20 MR. FINKELSTEIN: Objection. 20 off-label, you use your medical training and
21 A. Idon't -- I don't recall 21 judgment to satisfy yourself that this off-label
22 specifically. Since I don't necessarily when I 22 use is the most appropriate treatment?
23 prescribe a drug look up and see exactly what 23 MR. FINKELSTEIN: Objection.
24 the FDA approval is for, it's hard to say. So I 24 A. Imake decisions to prescribe
Page 43 Page 45 f
1 prescribe a drug for common conditions that is 1 medications based on my best clinical judgment. |,
2 used for that condition,. but I can't say 2 Ican't tell you specifically what information I
3 specifically if it's, you know, on-label or 3 use every time I prescribe a particular drug.
4 off-label. 4 BY MR. CHAFFIN:
5 BY MR. CHAFFIN: 5 Q. What are the FDA approved indications
6 Q. And when you prescribe a drug, do you 6 for Neurontin, Doctor?
7 regularly consult the drug labelling or any 7 A. I could not comment specifically on
8 other information available from FDA? 8 what the FDA approval is specifically for
9 A. Again, you'd have to give me a 9 Neurontin.
10 specific drug. If it's something that I have 10 Q. And you've prescribed it for pain,
11 used commonly and frequently in the past that {11 correct, I think you said before?
12 I'm comfortable with, I may not specifically 12 A. Ihave used Neurontin in patients that
13 check on that particular drug at that particular 13 have various pain syndromes, yes.
14 time. But again, it would have to be -- you'd 14 Q. Have you prescribed it for any other
15 have to ask me specifically about a particular 15 conditions?
16 drug in a particular case. 16 A. I don't recall specifically, but I
17 Q. Well, with respect to Neurontin which 17 believe that I have prescribed it or continued
18 you prescribe, have you reviewed the labelling 18 it for patients who were on -- had either
19 on Neurontin? 19 seizure disorders, and I can't recall
20 MR. FINKELSTEIN: Objection just to 20 specifically, but there may also have been
21 the time frame that you're referring to. 21 patients that had been prescribed it by their
22 A. I don't recall specifically. 22 psychiatrist for various psychiatric mood
23 BY MR. CHAFFIN: 23 stabilizing reasons that I may have refilled it
24 24

   
  
  
  
 
  
  
 
 
  
  
 
 
    
    

as well. But I have, to my knowledge, never

 

- 12 (Pages 42 to 45)

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Page 178 Page 180 [:
1 serotonin levels are increased, they're supposed 1 A. Good.
2 to feel better. 2 Q. Let me just share with you what this
3 BY MR, FINKELSTEIN: 3 document is.
4 Q. Do you know whether or not Neurontin 4 On the cover page you can see it's the
5 decreases serotonin in the human brain? 5 Division of Neuropharmacological Drug Products
6 A. Ihave no -- 6 Combined Medical Statistical Review?
7 MR. CHAFFIN: Objection. 7 A. Okay.
8 A. Sorry. 8 Q. And I submit to you that it’s the
9 I have no specific knowledge of the 9 division of the FDA's neuropharmacological drug
10 effect of Neurontin on serotonin. 10 products, and it’s their review -- .
11 BY MR. FINKELSTEIN: 11 A. Okay.
12 Q. If the company knew that Neurontin 12 Q. -- by Cynthia McCormick, medical
13 decreased serotonin in the human brain, is that 13 reviewer of the FDA --
14 information you would have liked to have known 14 A. Okay.
15 asa prescribing physician? 15 Q. -- related to clinical trials that
16 MR. CHAFFIN: Objection. 16 were submitted --
17 A. I like to have any information I can 17 A. Okay.
18 about drugs and how they work just for my own 18 Q. -- associated with gabapentin.
19 use. 19 A. Okay.
20 BY MR. FINKELSTEIN: 20 Q. Iask you to turn to Page, it's all
21 Q. When -- do you know when Neurontin was | 21 the way at the end, 117.
22 approved by the FDA? 22 A. 117. Okay.
23 A. No idea. 23 Q. Do you see in the third paragraph,
24 Q. Do you know anything about the FDA 24 begins "less common but more serious events may |:
Page 179 Page 181 |
1 approval process generally? 1 limit the drug's widespread usefulness"?
2 A. In general. 2 A. Mm-hmm.
3 Q. And that the FDA analyzes clinical 3 Q. And in the middle of the paragraph it
4 trials that are submitted to them? 4 says "a third is that depression, while it may
5 A. That's my understanding. 5 not be an infrequent occurrence in the epileptic
6 Q. And in that analysis, they then make 6 population, may become worse and require
7 some evaluations? 7 intervention or lead to suicide as it has
8 A. Okay. 8 resulted in some suicidal attempts."
9 Q. Do you know whether or not the FDA 9 Do you read that?
10 conducts their own trials or rely upon the 10 A. Isee that.
11 pharmaceutical company's trials? il Q. Are you aware that there were some
12 A. I don't know specifically. It’s my 12 suicidal attempts during the original clinical
13 understanding that the trials are submitted to 13 trials of Neurontin?
14 the FDA from the company that's trying to get 14 A. Ihave no --
15 approval for it. I'm not aware that the FDA 15 MR. CHAFFIN: Objection.
16 does their own studies. 16 A. Ihave no knowledge of that.
17 MR. FINKELSTEIN: Could we mark this, | 17 BY MR. FINKELSTEIN:
18 please? 18 Q. And did you know that as of 1993 the
19 (Whereupon, Goldman Exhibit Number 5 {19 FDA's statement was that the widespread
20 was marked for identification.) 20 usefulness was limited for Neurontin?
21 A. Do I have to read this? 21 MR. CHAFFIN: Objection.
22 BY MR. FINKELSTEIN: 22 A. Iwas not aware of that, no.
23 Q. No, you don't have to read it, I'm 23 BY MR. FINKELSTEIN:
24 24 Q. And is that information that you would

46 (Pages 178 to 181)

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Page 190 Page 192 |}
1 Q. Did you advise Susan at any time while 1 Q. Have you ever treated epileptics as
2 she was taking Neurontin that she should be on | 2 the primary care provider for their epilepsy?
3 the lookout for the emergence of any anxiety? 3 A. Ihave patients that have seizure
4 A. Thave no specific recollection of 4 disorder that I am the primary care doctor for,
5 asking her or telling her to look out: for 5 yes.
6 specific anxiety symptoms, no. 6 Q. But are you the primary care provider
7 Q. Did you communicate to Susan to be on | 7 for their epilepsy, or are they also treated
8 the lookout while she was on Neurontin for any | 8 with a neurologist?
9 increases of agitation or hostility? 9 A. Most patients, I would say, that have
10 A. Ihave no specific recollection of 10 a seizure disorder that I am their primary care
11 that, no. 11 either currently or at some point have seen a
12 Q. Do you know what a precursor to 12 neurologist, so I can't say that they're
13. emerging suicidality is? 13 currently seeing one. You know, they may have
14 A. Not specifically. I could probably 14 had a Seizure five years ago, ten years ago,
15 speculate, but no. 15 seen a neurologist, prescribed medication, and I
16 Q. Are you familiar with suicide risk 16 nowtreat them. But I'm not trained, and I do
17 assessment? 17 not initiate treatment for epilepsy.
18 A. Not specifically, no. 18 Q. Did you conduct any type of suicide
19 Q. The outcome of a suicide risk 19 risk assessment when you initially started
20 assessment, someone may have a low risk of 20 treating with -- started treating Susan Bulger?
21 suicide, moderate risk of suicide or high risk 21 A. Ihave no specific recollection of
22 of suicide? 22 doing a specific suicide risk analysis.
23 A. Okay. 23 Q. Have you ever conducted a specific
24 Q. Would you agree that physicians should |24 suicide risk analysis on any of your patients?
Page 191 Page 193
1 do all that they can not to increase the risk of 1 A. That would not be part of my normal
2 suicidality? 2 process, unless a patient came in complaining of
3 A. Well, primary is do no harm, so you 3 thoughts of suicide or there was some
4 don't want to do anything to a patient that 4 information that I was provided that the patient
5 would increase their risk of something bad 5 was at significant risk for suicide.
6 happening to them. 6 Q. And did you ever make an observation
7 Q. And if you were aware that Neurontin 7 that you believed that Susan was at significant
8 had the capacity to increase the risk of 8 risk of suicide during your care?
9 suicidality, would you have warned her? 9 A. There's no mention of that in any of
10 MR. CHAFFIN: Objection. 10 my notes that I was specifically concerned about
1i A. Ican't say what I would have done 11 suicide, no.
12 based on one particular piece of information. I | 12 Q. When -- strike that.
13 prescribe medication based on a risk/benefit 13 At any time did you learn as to
14 analysis, and there are multiple reasons why 14 whether or not Susan Bulger had a prior
15 medicines are prescribed or not prescribed, soI |15 dependence on street drugs?
16 don't know. 16 A. There's no mention of it in any of my
17 BY MR. FINKELSTEIN: 17 notes that she had a prior dependence on street
18 Q. Have you ever studied anti-epileptic 18 drugs in relation to Susan, no.
19 drugs in any way? 19 Q. Would it have changed your treatment
20 A. Not specifically, no. 20 protocol had that been disclosed to you?
21 Q. And have you ever participated in any 21 A. Ican't say specifically that it would
22 clinical trials as a researcher? 22 have changed things one way or another. I do
23 A. Not specifically to my recollection, 23 know that patients that I treat that are on
24 ~=no. 24

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49 (Pages 190 to 193)

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what an excitatory or inhibitory

 

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1 gotten medication from illicit sources or other 1 neurotransmitter is? ;
2 ways, but I can't comment specifically on Susan, | 2 A. Yes.
3 no. 3 Q. Do you know if GABA is considered
4 Q. During the entire time that you 4 inhibitory or excitatory?
5 treated her, was there any indication to you -- 5 A. Specifically, no. I know that some
6 A. Could we take a five minute break? 6 neurotransmitters can have both effects, they
7 Q. Sure. 7 can be both excitatory and inhibitory. So not
8 A. I don't know if I just need something 8 specific, I don't remember specifically on GABA.
9 sweet or something. I'm just having a sugar 9 Q. Have you ever heard of the term
10 low. 10 GABAergic?
11 MR. CHAFFIN: What would you like? 11 A. Yes.
12 THE VIDEOGRAPHER: The time is 12:56. | 12 Q. What do you understand GABAergic to
13 We're off the record. 13 be? °
14 (Whereupon, a recess was taken.) 14. ~~ A. ‘I believe those are nerves that use
15 THE VIDEOGRAPHER: Back on the record.}15 GABA as a transmitter.
16 The time is 1:08. 16 Q. And do you know of any drugs that are
17 BY MR. FINKELSTEIN: 17 GABAergic?
18 Q. Doctor, would you agree that each 18 A. ‘Not specifically.
19 patient may react differently to individual drug 19 Q. Have you ever heard of drugs being
20 regimens? 20 GABAergic enhancing the GABA systems?
21 MR. CHAFFIN: Objection. 21 A. Yes, I've heard that drugs do affect
22 A. I'd say that's a fair statement. 22 the GABA system, yes.
23 Everybody is an individual, and how they react 23 Q. And do you know what effects on mood
24 to medication or anything is individualized, 24 and behavior drugs that are GABAergic have?
Page 195 Page 197 ||
1 yes. 1 A. Not specifically.
2 BY MR. FINKELSTEIN: 2 Q. Okay. If Neurontin reduces serotonin
3 Q. And would you agree that dosage levels 3 in the human brain, is that significant to you?
4 impact on some side effects of drugs; that more 4 MR. CHAFFIN: Objection.
5 of adrug you may have more side effects, lower 5 A. I don't know what you mean by
6 amounts of drug you may have fewer side effects? | 6 — significant to me.
7 A. I'd have to say in general that makes 7 BY MR. FINKELSTEIN:
8 sense. I can't say for every single drug that 8 Q. Well, as a prescribing physician, is
9 there's a dose response in terms of side effect 9 that important information to know?
10 profile. 10 MR. CHAFFIN: Objection.
ii Q. Do you know what the dose response 11 A. Specifically it's something -- what a
12 . relationship for Neurontin is? 12 drug does and how it potentially works, or one
13 A. I have no specific knowledge, no. 13 of the mechanisms or one of the things that it
14 Q. Earlier you described serotonin as a 14 does is just one piece of information that I'd
15 neurotransmitter? 15 want to know in terms of using a particular
16 A. Yes. 16 drug. But mechanism versus clinical sometimes
17 Q. Do you know what GABA is? 17 are different.
18 A. Yes. 18 BY MR. FINKELSTEIN:
19 Q. What is GABA? 19 Q. During your 20 plus years of clinical
20 A. GABA is short for gamma-aminobutyric 20 experience, has any patient of yours
21 acid, which is another putative neurotransmitter |21 demonstrated suicidality?
22 in the brain. 22 A. Ican recall probably one or two
23 Q. Do you know if it's a -- do you know 23 patients over the years that have talked about
24 24 it in the course of in an office visit they have

"-5O (Pages 194 to 197)

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Q. Do you remember, however, that I said

 

Page 218 Page 220 |;

1 A. I think I treated Susan as best I | 1 to you "would you care to guess what drug it was |;

2 could given all the information I had and given 2 that you prescribed for her that Mr. Bulger was

3 my abilities, yes. 3 claiming caused her to commit suicide?" 4

4 Q. You're not on Neurontin today, are 4 MR. FINKELSTEIN: Objection. !

5 you? 5 A. I don't remember. S

6 A. Am I? 6 BY MR. CHAFFIN: |

7 Q. Yes. 7 Q. No? ;

8 A. No, I'm not. 8 So you don't remember that, in fact, :
9 Q. You were asked some questions by 9 you named two other drugs before you mentioned |:
10 Mr. Finkelstein about the FDA alert, do you 10 Neurontin? }
11 recall that? 11 A. Idon't, but -- :
12 A. Okay. 12 Q. No? }
13 Q. How did you first learn about the FDA 13 A. I certainly could have, but -- E
14 alert? 14 Q. You just don't remember the :
15 A. I don't remember specifically. I 15 conversation?
16 don't know if it was something that, you know, | 16 A. Idon't remember. I remember we hada |!
17 again in the Journal Watch that I get it 17 couple of conversations, but I don't remember ]
18 mentioned it, or if I got an e-mail, or if I 18 the first one. I remember you telling me it was |;
19 read it. 19 about Neurontin, but I don't remember thatI--  f
20 Q. Was it in a telephone conversation 20 I'msorry. i
21 with Mr. Finkelstein? 21 Q. That's quite all right. :
22 A. No. 22 Just give me one second, please, and i
23 Q. You were aware of it before he called 23 then I think we can get you out of here, unless ;
24 you? 24 Mr. Finkelstein has a few more questions. :
Page 219 Page 221

1 A. Isaid I remember that there was an 1 You mentioned earlier in response to }
2 alert about the increased risk. I can't tell 2 some of Mr. Finkelstein's questions about the H
3 you exactly when it happened or whatever, the 3 FDAalert that it was one piece of information. i
4 specifics of it obviously. 4 Do you remember that? :
5 Q. Do you remember the first telephone 5 A. Can you be more specific? i
6 conversation you and I had? 6 Q. Ican't. There were a number of
7 A. I don't recall. 7 questions about that.
8 Q. You don't. 8 A. That it's a piece of information. i
9 Do you remember that I told you that 9 Q. Pardon me? That the alert was apiece §
10 Mr. Bulger was suing and he was alleging that a | 10 of information. ;
11 product, that a drug that you had prescribed for | 11 A. All alerts are pieces of information, i
12 Mrs. Bulger had caused her to commit suicide? {12 aren't they? i
13 MR. FINKELSTEIN: Objection. 13 Q. And I think you suggested that your i
14 A. Iremember I asked you what this was 14 policy was to consider ail information when E
15 in reference to, and you explained to me that it |15 you're prescribing drugs. ;
16 had to do with medication that was prescribed, [16 With respect to the alert, and :
17 and that there was an allegation that the drug 17 Neurontin in particular, would you want to know |
18 caused a problem. 18 what the trial data actually showed with respect
19 BY MR. CHAFFIN: 19 to suicidality, if you were trying to determine i
20 Q. And you don't recall anything further 20 the risk of suicide or suicide attempt? H
21 about that conversation? 21 A. With any information that I get, i
22 A. Imean I remember the drug was 22. either an alert or from studies, you know, I
23 Neurontin. 23 want to know how significant -- I mean when you |i
24 24 talk about drugs and risks, I mean if you looked
4

 
    
  
   
   
  
  
   
   
   
      
      

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Page 222 Page 224 ;
1 at side effects of every single drug you'd never 1 MR. CHAFFIN: Thank you, Doctor.
2 prescribe anything because, you know, everything | 2 THE WITNESS: Thank you.
3 has, at some point has a potential side effect. 3 THE VIDEOGRAPHER: This is the end of
4 So again, the relevance and the significance of 4 April number three in the deposition. The time
5 it and how many patients and, you know, if it's 5 is 1:41. We're off the record.
6. -- is it one in a million or is it, you know, 6 (Whereupon, the deposition was
7 one in two that have it, so it's just one, you 7 concluded.)
8 know, it’s one piece of information on how. But 8
9 the specific study and stuff like that 9
10 necessarily, I'm more of a bottom line person, 10
11 you know, tell me that it's very important, that 11
12__ it's moderately important, that it's, you know, 12
13 just something to think about. 13
14 Q. And part of that bottom line is that 14
15 you closely monitor your patients to see how 15
16 they're reacting to the drugs you prescribe for 16
17 them, right? 17
18 A. Yes. 18
19 Q. And you did that for Susan Bulger, 19
20 right? 20
21 A. As best I could. 21
22 Q. And she never expressed to you any 22
23 problems with Neurontin, correct? 23
24 A. I don't recall, and I didn't mention 24
Page 223 Page 225 '
1 in my notes any specific problem that she had in | 1 ATTACH TO DEPOSITION OF RICHARD S. GOLDMAN, MD J,
2 respect to Neurontin, that's correct. 2 CASE: NEURONTIN MARKETING, SALES PRACTICES AND |;
3 MR. CHAFFIN: Thank you. I have 3 PRODUCTS LIABILITY LITIGATION
4 nothing further. 4 DATETAKEN: April 22nd, 2008
5 RECROSS EXAMINATION 5
6 BY MR. FINKELSTEIN: 6 ERRATA SHEET
7 Q. Did you ever ask? 7 PAGE LINE CHANGE REASON
8 A. Again, I don't have any specific 8
9 knowledge that I asked about each particular 9
10 drug specifically. Again, the only mention of 10
11. any change in Neurontin is in this April 24th il
12 dose, and there was no mention of her saying 12
13 anything like, you know, "I don't like the drug" | 13
14. or whatever. 14 T have read the foregoing transcript
15 Again, you know, if you look in the 15 of my deposition and except for any corrections
16 next notes, you know, she seemed to feel better |16 or changes noted above, I hereby subscribe to
17 atsome point, you know, and again, but you 17 the transcript as an accurate record of the
18 can't tell the other medicines that she was on 18 statements made by me.
19 and other things that were going on, but there's | 19
20 no specific mention of Neurontin. 20 Executed this___day of___, 2008.
21 MR. FINKELSTEIN: Okay. 21
22 MR. CHAFFIN: I'm done. 22
23 MR. FINKELSTEIN: I'm done. 23 RICHARD S. GOLDMAN, MD
24 24

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